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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
ESTATE OF MICHAEL HEISER, et al.,         )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )                  Civil Action No. 00-2329 (RCL)
                                          )
ISLAMIC REPUBLIC OF IRAN, et al.,         )
                                          )
            Defendants.                   )
__________________________________________)
ESTATE OF MILLARD D. CAMPBELL, et al., )
                                          )
            Plaintiffs,                   )
                                          )
      v.                                  )                  Civil Action No. 01-2104 (RCL)
                                          )
ISLAMIC REPUBLIC OF IRAN, et al.,         )
                                          )
            Defendants.                   )
__________________________________________)


                                     ORDER & JUDGMENT

       In accord with the Findings of Fact and Conclusions of Law issued this date, it is hereby

       ORDERED that Default Judgment be entered in favor of plaintiffs and against

defendants, jointly and severally, in the amount of $254,431,903.00, which shall be allocated in

the following manner:

       Estate and Surviving Family Members of Brent Marthaler
               •        $1,598,688.00 in economic damages to be allocated to the Estate of Brent
                        Marthaler, by Katie Lee Marthaler as personal representative, for the
                        benefit of Katie Lee Marthaler, Herman C. Marthaler, and Sharon


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             Marthaler, to be distributed in a manner consistent with the statute
             governing intestate distribution of property under Florida law;
      •      $8 million to be allocated to Katie Lee Marthaler;
      •      $5 million to be allocated to Herman Marthaler;
      •      $5 million to be allocated to Sharon Marthaler;
      •      $2.5 million to be allocated to Matthew Marthaler;
      •      $2.5 million to be allocated to Kirk Marthaler
Estate and Surviving Family Members of Justin Wood
      •      $5 million to be allocated to Richard Wood;
      •      $5 million to be allocated to Kathleen Wood;
      •      $2.5 million to be allocated to Shawn Wood;
Estate and Surviving Family Members of Michael Heiser
      •      $3,720,019.00 in economic damages to be allocated to the Estate of
             Michael Heiser, by Fran and Gary Heiser as personal representatives, for
             the benefit of Fran and Gary Heiser;
      •      $5 million to be allocated to Fran Heiser;
      •      $5 million to be allocated to Gary Heiser;
Estate and Surviving Family Members of Earl Cartrette, Jr.
      •      $5 million to be allocated to Denise Eichstaedt
      •      $2.5 million to be allocated to Anthony Cartrette
      •      $2.5 million to be allocated to Lewis Cartrette
Estate and Surviving Family Members of Patrick Fennig
      •      $1,120,304.00 in economic damages to be allocated to the Estate of
             Patrick Fennig, by Thaddeus C. Fennig and Catherine Fennig as personal
             representatives,for the benefit of Thaddeus C. Fennig and Catherine
             Fennig;
      •      $5 million to be allocated to Thaddeus C. Fennig;
      •      $5 million to be allocated to Catherine Fennig;
      •      $2.5 million to be allocated to Paul Fennig;


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      •      $2.5 million to be allocated to Mark Fennig;
Estate and Surviving Family Members of Christopher Adams
      •      $3,153,953.00 in economic damages to be allocated to the Estate of
             Christopher Adams, by Catherine Adams as personal representative, for
             the benefit of Catherine Adams;
      •      $5 million to be allocated to Catherine Adams;
      •      $2.5 million to be allocated to Mary Young;
      •      $2.5 million to be allocated to Daniel Adams;
      •      $2.5 million to be allocated to Elizabeth Wolf;
      •      $2.5 million to be allocated to Patrick Adams;
      •      $2.5 million to be allocated to John Adams;
      •      $2.5 million to be allocated to William Adams;
      •      $2.5 million to be allocated to Michael Adams;
Estate and Surviving Family Members of Thanh “Gus” Nguyen
      •      $596,905.00 in economic damages to be allocated to the Estate of Thanh
             “Gus” Nguyen, by Christopher Nguyen as personal representative, for the
             benefit of Christopher Nguyen;
      •      $5 million to be allocated to Christopher Nguyen;
Estate and Surviving Family Members of Brian McVeigh
      •      $5 million to be allocated to Sandra M. Wetmore;
Estate and Surviving Family Members of Joseph Rimkus
      •      $5 million to be allocated to Bridget Brooks;
      •      $2.5 million to be allocated to James Rimkus;
      •      $2.5 million to be allocated to Anne Rimkus;
Estate and Surviving Family Members of Kendall Kitson, Jr.
      •      $2,183,460.00 in economic damages to be allocated to the Estate of
             Kendall Kitson, Jr., by Kendall Kitson, Sr., and Nancy R. Kitson as
             personal representatives, for the benefit of Kendall Kitson, Sr., and Nancy
             R. Kitson;


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      •      $5 million to be allocated to Kendall Kitson, Sr.;
      •      $5 million to be allocated to Nancy R. Kitson;
      •      $2.5 million to be allocated to Steve K. Kitson;
      •      $2.5 million to be allocated to Nancy A. Kitson;
Estate and Surviving Family Members of Jeremy Taylor
      •      $5 million to be allocated to Lawrence Taylor;
      •      $5 million to be allocated to Vickie Taylor;
      •      $2.5 million to be allocated to Starlina Taylor;
Estate and Surviving Family Members of Joshua Woody
      •      $1,981,521.00 in economic damages to be allocated to the Estate of Joshua
             Woody, by Dawn Woody as personal representative, for the benefit of
             Dawn Woody;
      •      $8 million to be allocated to Dawn Woody;
      •      $5 million to be allocated to Bernadine Beekman;
      •      $2.5 million to be allocated to Tracy Smith;
      •      $2.5 million to be allocated to Jonica Woody;
      •      $2.5 million to be allocated to Timothy Woody;
Estate and Surviving Family Members of Leland “Tim” Haun
      •      $2,822,796.00 in economic damages to be allocated to the Estate of Leland
             “Tim” Haun, by Ibis “Jenny” Haun as personal representative, for the
             benefit of Ibis “Jenny” Haun, Senator Haun, and Milly Perez-Dallis, to be
             distributed in a manner in accordance with the method of intestate
             distribution under California law;
      •      $8 million to be allocated to Ibis “Jenny” Haun;
      •      $5 million to be allocated to Senator Haun;
      •      $7 million to be allocated to Milly Perez-Dallis;
Estate and Surviving Family Members of Christopher Lester
      •      $1,960,466.00 in economic damages, plus $500,000.00 in pain and
             suffering damages to be allocated to the Estate of Christopher Lester, by


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             Cecil Lester, Sr., and Judy Lester as personal representatives, for the
             benefit of Cecil Lester, Sr., Judy Lester, Cecil Lester, Jr., and Jessica
             Lester, to be distributed in a manner in accordance with the method of
             intestate distribution under Ohio law;
      •      $5 million to be allocated to Cecil Lester, Sr.;
      •      $5 million to be allocated to Judy Lester;
      •      $2.5 million to be allocated to Cecil Lester, Jr.;
      •      $2.5 million to be allocated to Jessica Lester;
Estate and Surviving Family Members of Kevin Johnson, Sr.
      •      $1,171,477.00 in economic damages to be allocated to the Estate of Kevin
             Johnson, Sr., by Shyrl Johnson as personal representative, for the benefit
             of Shyrl Johnson, Kevin Johnson, Jr., and Nicholas Johnson, to be
             distributed in a manner in accordance with the method of intestate
             distribution under Louisiana law;
      •      $8 million to be allocated to Shyrl Johnson;
      •      $5 million to be allocated to Kevin Johnson, Jr.;
      •      $5 million to be allocated to Nicholas Johnson;
Estate and Surviving Family Members of Peter Morgera
      •      $50,000.00 in economic damages to be allocated to the Estate of Peter
             Morgera, by Michael Morgera as personal representative, for the benefit of
             Michael Morgera and Thomas Morgera, to be distributed in a manner in
             accordance with the method of intestate distribution under New
             Hampshire law;
      •      $2.5 million to be allocated to Michael Morgera;
      •      $2.5 million to be allocated to Thomas Morgera;
Estate and Surviving Members of Millard “Dee” Campbell
      •      $1,572,314.00 in economic damages to be allocated to the Estate of
             Millard “Dee” Campbell, by Marie Campbell as personal representative,
             for the benefit of Marie Campbell and Bessie Campbell, to be distributed


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                       in a manner in accordance with the method of intestate distribution under
                       Texas law;
               •       $8 million to be allocated to Marie Campbell;
               •       $5 million to be allocated to Bessie Campbell;
       IT IS FURTHER ORDERED that the claims for compensatory damages in the form of
lost wages and future earnings for the estates of the following decedents are hereby DENIED:
               •       Estate of Justin Wood
               •       Estate of Earl Cartrette, Jr.
               •       Estate of Brian McVeigh
               •       Estate of Joseph Rimkus
               •       Estate of Jeremy Taylor
       IT IS FURTHER ORDERED that the claims brought by the following plaintiffs are
hereby DISMISSED WITH PREJUDICE:
               •       James V. Wetmore
               •       George Beekman
               •       Che Colson
               •       Laura Johnson
               •       Bruce Johnson
       IT IS FURTHER ORDERED that plaintiffs, at their own cost and consistent with the

requirements of 28 U.S.C. § 1608(e), send a copy of this Judgment and the Findings of Fact and

Conclusions of Law issued this date to defendants.

       IT IS FURTHER ORDERED that the Clerk of this Court shall terminate this case from

the dockets of this Court.



       SO ORDERED.

       Signed by Royce C. Lamberth, United States District Judge, December 22, 2006.



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